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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
                                                      No. 19 CR 623
                     v.                      )
                                             )
                                                      Honorable Robert W. Gettleman
 THOMAS E. CULLERTON                         )
                                             )

         DESIGNATION OF ATTORNEY FOR THE GOVERNMENT

The United States of America, by and through its attorney, John R. Lausch, Jr.,

United States Attorney for the Northern District of Illinois, hereby presents notice

that the undersigned Assistant United States Attorney has been designated to

represent the government in the above-captioned matter.

                                                 Respectfully submitted,

                                                 JOHN R. LAUSCH, JR.
                                                 United States Attorney


                                       By:       /s/ Abigail Peluso
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